Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.957 Page 1 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.958 Page 2 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.959 Page 3 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.960 Page 4 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.961 Page 5 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.962 Page 6 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.963 Page 7 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.964 Page 8 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.965 Page 9 of 10
Case 2:12-cr-00084-RHW   ECF No. 191   filed 01/25/13   PageID.966 Page 10 of 10
